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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                   :
William Sircy,                                     :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Commercial Recovery Systems, Inc.,                 :
                                                     COMPLAINT
                                                   :
                        Defendants.                :
                                                   :
                                                   :



                 For this Complaint, the Plaintiff, William Sircy, by undersigned counsel, states as

follows:


                                          JURISDICTION

        1.       This action arises out of the Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant and its agents in their illegal efforts to collect a

consumer debt.

        2.       Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.
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                                            PARTIES

       4.      The Plaintiff, William Sircy (“Plaintiff”), is an adult individual residing in

Taylorsville, Kentucky, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

       5.      Defendant Commercial Recovery Systems, Inc. (“Commercial”), is a Texas

business entity with an address of 8035 RL Thornton FWY., Suite, 220, Dallas, Texas 75228,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.     The Debt


       6.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       7.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       8.      The Debt was purchased, assigned or transferred to Commercial for collection, or

Commercial was employed by the Creditor to collect the Debt.

       9.      The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).




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B.      Commercial Engages in Harassment and Abusive Tactics


        10.     Within the last year, the Defendant contacted the Plaintiff in an attempt to collect

the Debt.

        11.     In April 2012, Plaintiff asked Commercial to provide him with written

correspondence outlining Commercial’s attempts to collect the Debt.

        12.     Plaintiff explained to Commercial that the Debt belongs to his ex-wife and that he

was in the process of a divorce. Plaintiff requested a 30-Day Validation Notice from Commercial

so that he could dispute the Debt and/or request validation of the Debt.

        13.     After several requests, Commercial ultimately agreed to send paperwork via fax

to Plaintiff.

        14.     Plaintiff provided Commercial with his employer’s fax number and told

Commercial to immediately fax the correspondence to his office. Plaintiff warned Commercial

that the fax machine is used by many of his coworkers and that Plaintiff’s job could be

jeopardized if Commercial did not send the documents at the time they agreed.

        15.     Plaintiff did not receive the fax at the time agreed and placed a subsequent call to

Commercial to advise it that he was no longer in the office and asked Commercial not to fax

documents to his office because they run the risk of being seen by Plaintiff’s employer. Plaintiff

instead provided Commercial with his email address and asked Commercial to email the

documents to him.

        16.     Despite Plaintiff’s request, Commercial proceeded to fax documents relating to

the Debt to Plaintiff’s employer’s fax machine, causing Plaintiff a great amount of

embarrassment and humiliation.




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           17.   Commercial representative “Morgan Richards” threatened to garnish Plaintiff’s

wages and threatened to place a lien on Plaintiff’s home and Plaintiff’s bank account if Plaintiff

did not immediately pay the Debt.

           18.   Ms. Richards left several harassing voicemails with Plaintiff reiterating her

threats.

           19.   One of Ms. Richards’s voicemails stated in part, “If I have not heard from you

before 4p.m. today with the payment, we'll go ahead and move forward with everything I

advised you of [Commercial’s threats to garnish Plaintiff’s wages and place a lien on Plaintiff’s

property and bank account]. I'm not going to continue to play the games with you, you already

know the debt is valid and you already know what you owe it for.”

           20.   During a different voicemail, Ms. Richards stated ‘"...If I have not heard from you

by 1p.m. today, I will go ahead and move forward with everything I did advise you of

[Commercial’s threats to garnish Plaintiff’s wages and place a lien on Plaintiff’s property and

bank account] unfortunately. I've done my part.”

           21.   Commercial’s threats were false because Commercial has not taken legal action

against Plaintiff and does not have the present ability to garnish Plaintiff’s wages or place a lien

on Plaintiff’s home and Plaintiff’s bank account.

           22.   Further, Commercial’s threats to Plaintiff overshadow Plaintiff’s rights under

Federal and State laws to dispute the Debt or request validation of the Debt.

           23.   Commercial regularly failed to identify itself and include the “mini-Miranda

warning” when placing calls to Plaintiff in an attempt to collect the Debt.

           24.   Commercial failed to send Plaintiff an initial letter within five days of its initial

contact with Plaintiff.



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C.       Plaintiff Suffered Actual Damages


         25.   The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

         26.   As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

         27.   The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.


                                    COUNT I
                   VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

         28.   The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

         29.   The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

         30.   The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

         31.   The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.

         32.   The Defendants’ conduct violated 15 U.S.C. § 1692e(2) in that Defendants

misrepresented the character, amount and legal status of the Debt.


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        33.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with garnishment if the Debt was not paid.

        34.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with attachment of his property if the Debt was not paid.

        35.     The Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

        36.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        37.     The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed

to inform the consumer that the communication was an attempt to collect a debt.

        38.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        39.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        40.     The Plaintiff is entitled to damages as a result of Defendant’s violations.


                                    COUNT II
                 VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                         TEX. FIN. CODE ANN. § 392, et al.

        41.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        42.     The Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

        43.     The Defendants are each a “debt collector” and a “third party debt collector” as

defined by Tex. Fin. Code Ann. § 392.001(6) and (7).


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       44.     The Defendants threatened to seize, repossess or sell the Plaintiff’s property

without first instituting proper court proceedings, in violation of Tex. Fin. Code Ann.

§ 392.301(a)(7).

       45.     The Defendants used abusive and profane language when speaking with the

Plaintiff, in violation of Tex. Fin. Code Ann. § 392.302(1).

       46.     The Defendants called the Plaintiff and failed to identify the name of the debt

collection agency or the individual debt collector, with the intent to annoy and harass, in

violation of Tex. Fin. Code Ann. § 392.302(2).

       47.     The Defendants failed to clearly disclose the name of the debt collector or debt

collection agency when making a demand for money from the Plaintiff, in violation of Tex. Fin.

Code Ann. § 392.304(4).

       48.     The Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex.

Fin. Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code

§ 17.62 pursuant to Tex. Fin. Code Ann. § 392.404(a).


                                COUNT III
          INVASION OF PRIVACY BY INTRUSION INTO PRIVATE AFFAIRS

       49.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       50.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       51.     Texas further recognizes the Plaintiff’s right to be free from invasions of privacy,

thus the Defendants violated Texas state law.

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       52.     The Defendants intentionally intruded upon the Plaintiff’s right to privacy by

continually harassing the Plaintiff by sending personal information about the Debt to Plaintiff’s

employer and by repeatedly making unlawful threats to Plaintiff.

       53.     The telephone calls made by the Defendants to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       54.     The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       55.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.

       56.     All acts of the Defendants and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendants are subject to punitive damages.


                                     PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A)

                       against the Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against the Defendants;

                   4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

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                  5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                  6.   Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                       Code Ann. § 392.404(a);

                  7. Actual damages from the Defendants for the all damages including

                       emotional distress suffered as a result of the intentional, reckless, and/or

                       negligent FDCPA violations and intentional, reckless, and/or negligent

                       invasions of privacy in an amount to be determined at trial for the Plaintiff;

                  8. Punitive damages; and

                  9. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: July 6, 2012

                                               Respectfully submitted,

                                               By /s/ Jody B. Burton

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